August 05, 2009


Mr. John Owens
Assistant Attorney General
Consumer Protection Division
808 Travis Street, Suite 812
Houston, TX 77002-1702

Mr. Robert Francis Johnson III
One American Center, Suite 3000
600 Congress Avenue
Austin, TX 78701
Mr. Peter Kelley Taaffe
The Buzbee Law Firm
600 Travis, Suite 6850
Houston, TX 77002

RE:   Case Number:  08-0956
      Court of Appeals Number:
      Trial Court Number:

Style:      IN RE  PETROLEUM WHOLESALE, L.P., AND PWI GP, LLC "OPERATION
      SPOTLIGHT" LITIGATION

Dear Counsel:

      Today  the  Multidistrict  Litigation  Panel  delivered  the  enclosed
opinion in the above-referenced case.


                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk


Enclosure
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